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                                                   14                               UNITED STATES DISTRICT COURT
                                                                                         DISTRICT OF NEVADA
                                                   15
                                                   16
                                                        MARLONESHA BECKER, on behalf of                Case No.: 3:19-cv-00602-LRH-WGC
                                                   17   herself and all others similarly situated,
                                                                                                       STIPULATION TO EXTEND TIME FOR
                                                   18                                                  DEFENDANTS TO RESPOND TO
                                                                Plaintiff(s),                          PLAINTIFF’S MOTION FOR
                                                   19                                                  CONDITIONAL CERTIFICATION AND
                                                               v.                                      [PROPOSED] ORDER THEREON
                                                                                                       ORDER THEREON
                                                   20
                                                                                                                      FIRST REQUEST
                                                   21   KAMY KESHMIRI, an individual; JAMY
                                                        KESHMIRI, an individual; FANTASY
                                                   22   GIRLS, LLC, a Nevada limited Liability
                                                        corporation, DOE MANAGERS 1-3; and
                                                   23   DOES 4-100, inclusive,
                                                   24
                                                               Defendant(s).
                                                   25
                                                   26          Pursuant to Local Rules (“LR”) IA 6-1, IA 6-2, and LR 7-1, DEFENDANTS FANTASY
                                                   27   GIRLS, LLC, KAMY KESHMIRI, JAMY KESHMIRI by and through their counsel, Thierman
                                                   28   Buck, LLP and Plaintiff, MARLONESHA BECKER, by and through her counsel, Kristensen,

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                                                          STIPULATION TO EXTEND TIME FOR DEFENDANTS TO RESPOND TO PLAINTIFF’S MOTION
                                                                                FOR CONDITIONAL CERTIFICATION
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                                                    1   LLP hereby request that the Court grant the Parties’ request for an extension of time for
                                                    2   Defendants to file their response to Plaintiff’s Motion for Conditional Certification (ECF No.
                                                    3   53). Defendants’ response is currently due on November 5, 2020, and the Defendants request an
                                                    4   eleven (11) day extension up to Monday, November 16, 2020. Therefore, Plaintiff requests
                                                    5   additional time to reply to Defendants’ response once filed. Plaintiffs’ response would be due on
                                                    6
                                                        November 23, 2020.
                                                    7
                                                               This is the Parties’ first request for an extension of time. This request is not intended for
                                                    8
                                                        delay and is made in good faith.
                                                    9
                                                        DATED: November 4, 2020
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                                                   11   Respectfully Submitted,
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                                                   14   /s/ Mark R. Thierman                                  /s/ John P. Kristensen ______________
                                                        Mark R. Thierman                                      John P. Kristensen (admitted Pro Hac Vice)
                                                   15   Attorneys for Defendants                              Attorney for Plaintiff
                                                   16
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                                                   18
                                                                                                    ORDER
                                                   19
                                                               IT IS SO ORDERED.
                                                   20
                                                   21
                                                               DATED this       day
                                                                     this 5th day of of November2020.
                                                                                     November,   2020.
                                                   22
                                                   23
                                                   24                                         United
                                                                                              LARRYStates Magistrate Judge
                                                                                                     R. HICKS
                                                                                              UNITED STATES DISTRICT JUDGE
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                                                          STIPULATION TO EXTEND TIME FOR DEFENDANTS TO RESPOND TO PLAINTIFF’S MOTION
                                                                                FOR CONDITIONAL CERTIFICATION
